               Case 8:22-bk-00103-CED       Doc 367       Filed 08/07/23   Page 1 of 4




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION
                                   www.flmb.uscourts.gov

 IN RE:

 SENIOR CARE LIVING VII, LLC,                                 CASE NO. 8:22-bk-00103-CED
                                                              Chapter 11
          Debtor.
                                                      /

                       APPLICATION FOR AUTHORITY TO PAY
                    COMMISSION TO INVESTMENT BANKER/BROKER

      NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

If you object to the relief requested in this paper you must file a response with the Clerk of
Court at 801 N. Florida Avenue, Suite 555, Tampa, Florida 33602 and mail a copy to the
moving party at Michael C. Markham, Esq., Counsel to the Debtor, Johnson Pope Bokor
Ruppel & Burns, LLP, 401 E. Jackson Street, Suite 3100, Tampa, Florida 33602, and to
Meridian Capital Group, LLC, Attn: Sim Goldberg, One Battery Park Plaza, New York NY
10004, within twenty one (21) days from the date of the attached proof of service, plus an
additional three days if this paper was served on any party by U.S. Mail.

If you file and serve a response within the time permitted, the Court will either notify you of a
hearing date or the Court will consider the response and grant or deny the relief requested in
this paper without a hearing. If you do not file a response within the time permitted, the Court
will consider that you do not oppose the relief requested in the paper, and the Court may grant
or deny the relief requested without further notice or hearing.

You should read these papers carefully and discuss them with your attorney if you have one. If
the paper is an objection to your claim in this bankruptcy case, your claim may be reduced,
modified, or eliminated if you do not timely file and serve a response.

          Debtor, SENIOR CARE LIVING VII, LLC (“Debtor”), by and through its undersigned

 counsel, hereby files this Application for Authority to Pay Commission to Investment

 Banker/Broker, and states:

                                  Summary of Relief Requested

          1.     The Debtor seeks authority to pay a commission to its investment banker/broker in

 the amount of $585,000 from the proceeds of sale of the Debtor’s ALF property.
            Case 8:22-bk-00103-CED         Doc 367      Filed 08/07/23     Page 2 of 4




                                    Jurisdiction and Venue

       2.      This Court has jurisdiction to consider this Application pursuant to 28 U.S.C. §§ 157

and 1334. The subject matter of this Application is a core proceeding pursuant to 28 U.S.C. §

157(b). Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The statutory predicates for the relief requested herein are § 327(a) and §328 of the

Bankruptcy Code and Rule 2014 of the Federal Rules of Bankruptcy Procedure.

                                          Background

       4.      On January 10, 2022 (“Petition Date”), the Debtor filed a Voluntary Petition for

Relief under Chapter 11 of the Bankruptcy Code.

       5.      The Debtor owned and operated an assisted living and memory care facility doing

business as Inspired Living at Lewisville (“ALF”). Pursuant to 11 U.S.C., Sections 1107 and 1108,

the Debtor has operated its business as a Debtor-in-Possession.

       6.      An Official Committee of Unsecured Creditors has not been appointed.

       7.      On August 19, 2022, the Debtor filed an Application to Employ Investment

Banker/Broker (Doc. 177 – the “Broker Application”) which identified RBC Capital Markets, LLC

(“RBC”) and Meridian Capital Group, LLC (“Meridian”), as its proposed investment banker/broker

in connection with the sale of its assets. Pursuant to the agreement attached to the Broker

Application, David B. Fields (“Mr. Fields”) was identified as the person primarily responsible for

providing the services. Pursuant to the Fee Schedule filed with the Broker Application, the broker

commission is 2.25% of the gross sale price.

       8.      On August 31, 2022, the Court entered an Order (Doc. 190) approving the Broker

Application. On the same date, the Court entered a Bid Procedures Order (Doc. 187) relating to the

sale of the Debtor’s assets.
              Case 8:22-bk-00103-CED              Doc 367       Filed 08/07/23       Page 3 of 4




        9.       Subsequently, an auction was conducted pursuant to the Bid Procedures Order and

this Court entered Sale Orders (Doc. 250, 251) on December 27, 2022. The Sale Order with respect

to the Debtor’s ALF property identified Phorcys Asset Management, LLC (“Phorcys”), as the

successful bidder.

        10.      On July 26, 2023, the Debtor closed the sale of the ALF to Phorcys. Pursuant to the

Sale Order, the proceeds have been placed into a DIP account with the sole signatory being Debtor’s

counsel. In an abundance of caution, the broker commission was not paid at closing.

                                                  Relief Requested

        11.      Meridian has submitted an invoice to the Debtor for a commission in the amount of

$585,000, which is 2.25% of the gross sale price of the ALF of $26,000,000. The requested

commission is consistent with the Broker Application. Meridian will be splitting the commission

50/50 with Mr. Fields new employer, Raymond James.1

        WHEREFORE, the Debtor respectfully requests an order authorizing payment of the

requested commission to Meridian.

                                                    JOHNSON, POPE, BOKOR,
                                                    RUPPEL & BURNS, LLP

                                                    /s/ Michael C. Markham
                                                    Michael C. Markham (FBN: 768560)
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                                                    Attorneys for Debtor




1
 After the Sale Order but before the closing, Mr. Fields left RBC and went to Raymond James. On or about May 26,
2023, RBC sent a letter to the Debtor terminating the agreement attached to the Broker Application (as to RBC) but
advising that Mr. Fields was available to remain involved.
            Case 8:22-bk-00103-CED       Doc 367     Filed 08/07/23    Page 4 of 4




                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing Application has been

furnished by the Court’s CM/ECF system to all registered parties on August 3, 2023.



                                           /s/ Michael C. Markham
                                           Michael C. Markham
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